           Case: 19-2375 Document:
Case 2:17-cv-10310-VAR-SDD ECF No.56-1   Filed: 02/10/2021
                                   160, PageID.3016           Page: 1 Page 1 of 2 (1 of 2)
                                                      Filed 02/10/21




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                  Filed: February 10, 2021




Ms. Miriam J. Aukerman
Mr. Nabih H. Ayad
Mr. Daniel S. Korobkin
Mr. Jason C. Raofield
Ms. Alyson Sandler
Mr. Joshua Paul Waldman


                     Re: Case No. 19-2375, Arab Amer. Civil Rights League, et al v. Donald Trump, et al
                         Originating Case No.: 2:17-cv-10310

Dear Counsel,

   The Court issued the enclosed Order today in this case.

                                                  Sincerely yours,

                                                  s/Laura A. Jones
                                                  Case Management Specialist
                                                  Direct Dial No. 513-564-7023

cc: Ms. Lynne Bernabei
    Mr. Subodh Chandra
    Ms. Kinikia D. Essix
    Mr. Alan R. Kabat
    Mr. Julian Davis Mortenson

Enclosure

No mandate to issue
           Case: 19-2375 Document:
Case 2:17-cv-10310-VAR-SDD ECF No.56-2   Filed: 02/10/2021
                                   160, PageID.3017           Page: 1 Page 2 of 2 (2 of 2)
                                                      Filed 02/10/21




                                          No. 19-2375

                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT


 ARAB AMERICAN CIVIL RIGHTS LEAGUE, et )
                                                                                 FILED
 al.                                   )                                    Feb 10, 2021
                                       )                                DEBORAH S. HUNT, Clerk
      Plaintiffs-Appellees,            )
                                       )
 v.                                    )
                                                                          ORDER
                                       )
 DONALD J. TRUMP, et al.               )
                                       )
      Defendants-Appellants,           )



       Before: KETHLEDGE, DONALD, and LARSEN, Circuit Judges.

       The parties’ joint motion to dismiss this appeal without prejudice as moot is granted, and

the case is remanded with instructions to dismiss Plaintiffs’ claims without prejudice as moot. We

also vacate the district court’s order denying Defendants’ motion to dismiss, given that mootness

precludes us from reviewing the merits of that order. See United States v. Munsingwear, Inc., 340

U.S. 36 (1950).



                                             ENTERED BY ORDER OF THE COURT




                                             Deborah S. Hunt, Clerk
